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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF NEW YORK


Jason Singleton,

                     Plaintiff,
                                                  2d AMENDED
                                               SCHEDULING ORDER
             v.
                                                  23-cv-6359-EAW-MJP
City of Geneva, at al.,

                     Defendants.


       PURSUANT TO the order of the Hon. Elizabeth A. Wolford, Chief Judge

referring the above case to the undersigned for pretrial matters and the entry of a

scheduling order under Fed. R. Civ. P. 16(b) and W.D.N.Y. Loc. R. Civ. P. 16, and

the parties having submitted a joint request for an extension of deadlines, (ECF No.

24), it is

       ORDERED that:

       1.    Paper discovery. The parties shall complete all paper discovery no

later than August 16, 2024.

       2.    Depositions. The parties have requested that the Court include a

deadline for depositions. The Court notes that this will subject depositions to the

same extension requirements as all other aspects of discovery. The parties shall

complete all depositions no later than December 16, 2024.

       3.    Close of discovery. The parties shall complete all discovery by

February 14, 2025.




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      4.     Experts. Plaintiff shall identify any expert witnesses and serve any

expert reports no later than November 18, 2024. Defendant shall identify any

expert witnesses and serve any expert reports no later than December 18, 2024.

      5.     Motions to compel. The parties shall file any motions to compel

discovery no later than September 18, 2024.

      6.     Dispositive motions. The parties shall file any dispositive motions

no later than March 18, 2025.

      7.     Extensions. Requests to extend the cut-off dates may be granted upon

written application, made before the applicable cut-off date, and showing good cause

for the extension under Fed. R. Civ. P. 16(b)(4). Applications for extensions should

be made to the undersigned. Joint or unopposed requests to extend the deadlines

set forth in this order need not be made by formal motion, but rather may be sought

in a letter motion to the Court. Letter motions for an extension must detail good

cause for the extension and propose specific new dates that fall on a business day.

      8.     Warning. The undersigned may, on motion or sua sponte, impose

sanctions where parties willfully ignore or otherwise fail to adhere to this

scheduling order. See Fed. R. Civ. P. 16(f).

SO ORDERED.


Dated:          June 26, 2024
                Rochester, NY                  /s/ Mark W. Pedersen
                                               MARK W. PEDERSEN
                                               United States Magistrate Judge




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